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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 PAUL A. HEMESATH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 2:11 CR 00096 JAM
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   MAURICIO PORTILLO, AND                              DATE: July 8, 2014
     IRMA GONZALEZ,                                      TIME: 9:45 a.m.
15                                                       COURT: Hon. John A. Mendez
                                  Defendants.
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17
                                                 STIPULATION
18
            1.      By previous order, this matter was set for status on July 8, 2014.
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            2.      By this stipulation, defendants now move to continue the status conference until August
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     5, 2014 at 9:30 a.m., and to exclude time between July 8, 2014, and August 5, 2014 at 9:30 a.m., under
21
     Local Code T4.
22
            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has represented that the discovery associated with this case
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            includes hundreds of pages of written reports, three data-intensive wiretap discs, and dozens of
25
            images. All of this discovery has been either produced directly to counsel and/or made available
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            for inspection and copying.
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                    b)     With regard to PORTILLO, the United States Probation Office informed the
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            parties that it is attempting to obtain additional information about his criminal history, which was

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 1          complicated by identity issues;

 2                  c)     Counsel for defendants desire additional time to consult with their respective

 3          clients, review the evidence, and weigh the possibility of settlement.

 4                  d)     Counsel for defendants believe that failure to grant the above-requested

 5          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 6          into account the exercise of due diligence.

 7                  e)     The government does not object to the continuance.

 8                  f)     Based on the above-stated findings, the ends of justice served by continuing the

 9          case as requested outweigh the interest of the public and the defendant in a trial within the

10          original date prescribed by the Speedy Trial Act.

11                  g)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12          et seq., within which trial must commence, the time period of July 8, 2014 to August 5, 2014 at

13          9:30 a.m., inclusive, is deemed excludable pursuant to excluded under 18 U.S.C. sections

14          3161(h)(7)(A) and (B)(iv), corresponding to Local Codes T2 [complex case] and T4 [reasonable

15          time for defense counsel to prepare], because it results from a continuance granted by the Court

16          at defendants’ request on the basis of the Court’s finding that the ends of justice served by taking

17          such action outweigh the best interest of the public and the defendant in a speedy trial.

18          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

19 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

20 must commence.

21          IT IS SO STIPULATED.

22
     Dated: July 3, 2014                                      BENJAMIN B. WAGNER
23                                                            United States Attorney
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                                                              /s/ PAUL A. HEMESATH
25                                                            PAUL A. HEMESATH
                                                              Assistant United States Attorney
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     Dated: July 3, 2014                              /s/ Kenny Giffard
 2                                                    Kenny Giffard
                                                      Counsel for Defendant IRMA GONZALEZ
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 6
     Dated: February 21, 2014                         /s/ Dina Santos
 7                                                    Dina Santos Counsel for Defendant
                                                      MAURICIO PORTILLO
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11

12                                        FINDINGS AND ORDER

13          IT IS SO FOUND AND ORDERED this 7th day of July, 2014.

14
                                                /s/ John A. Mendez
15                                              THE HONORABLE JOHN A. MENDEZ
                                                UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION RE: SPEEDY TRIAL ACT;           3
      [PROPOSED] FINDINGS AND ORDER
